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                                                                                                   E-FILED
                                                                Thursday, 05 September, 2019 02:17:29 PM
                                                                              Clerk, U.S. District Court, ILCD

                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                               SPRINGFIELD DIVISION

DEANGELO C. BIVENS,                           )
                                              )
               Plaintiff,                     )
                                              )
       -vs-                                   )      No. 19-cv-3088-MMM
                                              )
TODD SHUFFLER, et al.,                        )
                                              )
               Defendants.                    )

                 DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES

       Defendants Todd Sheffler, Jeffrey Settles and Clint Zoller, (“Defendants”), by and

through their attorney, Kwame Raoul, Attorney General for the State of Illinois, and pursuant to

the Court’s Merit Review Order of July 10, 2019 [Doc. 8], provides the following Answer and

Affirmative Defenses to Plaintiff’s Complaint, [Doc. 1], stating as follows:

   ALLEGATIONS ENUMERATED IN COURT ORDER DATED JULY 10, 2019 [DOC. 8]

   1. Pursuant to its merit review of the Plaintiff’s Complaint under 28 U.S.C. § 1915(A), the

Court found that Plaintiff stated an Eighth Amendment claim for excessive force against

Defendants Sheffler and Settles.

   ANSWER: Defendants admit that the Court has found that the complaint states a claim

under 42 U.S.C. § 1983, but deny any violation of Plaintiff’s Eight Amendment rights or any

other constitutional rights.

   2. The Court also found that Plaintiff’s Complaint states an Eighth Amendment claim for

failure to intervene against Defendant Zoller.

    ANSWER: Defendants admit that the Court has found that the complaint states a claim

under 42 U.S.C. § 1983, but deny any violation of Plaintiff’s Eight Amendment rights or any

other constitutional rights.
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                                        GENERAL DENIAL

        Defendants expressly deny any allegation not specifically admitted.

                                        REQUESTED RELIEF

        1. Defendants deny that Plaintiff is entitled to compensatory damages.

        2. Defendants deny that Plaintiff is entitled to punitive damages.

        3. Defendants deny that Plaintiff is entitled to any other relief.

                                          JURY DEMAND

        Defendant respectfully requests trial by jury.

                                AFFIRMATIVE DEFENSES

        1.      At all times relevant herein, Defendants acted in good faith in the performance of

their official duties and without violating Plaintiff’s clearly established statutory or

constitutional rights of which a reasonable person would have known. Defendants are therefore

protected from suit by the doctrine of qualified immunity.

        2.      To the extent that Plaintiff is suing Defendants for injunctive relief that is not

intended to address ongoing constitutional violations, the Eleventh Amendment and the

doctrine of sovereign immunity bar such claims.

        3.      To the extent Plaintiff seeks damages from Defendants in their official capacity,

Defendants are protected from liability by the Eleventh Amendment.

        4.      To the extent Plaintiff has failed to adhere to the Illinois Department of

Corrections grievance procedures, his claim should be barred for failure to exhaust his

administrative remedies prior to the initiation of this cause of action, which serves as a bar to

Plaintiff’s claims by the Prison Litigation Reform Act (42 U.S.C. § 1997) and Perez v. Wisconsin

Dept. of Corrections, 182 F. 3ed 532 (7th Cir. 1999).




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       WHEREFORE, Defendants request that this Honorable Court enter judgment in their

favor and against Plaintiff, DEANGLO BIVENS.


 Dated: September 5, 2019                    Respectfully submitted,

 Kwame Raoul
 Attorney General of the State of Illinois   By:   s/ Lindsay Rose VanFleet
 Counsel for Defendants                            Lindsay Rose VanFleet
 TODD SHEFFLER                                     Assistant Attorney General
 JEFFREY SETTLES                                   Office of the Illinois Attorney
 CLINT ZOLLER                                      General
                                                   1776 East Washington Street
                                                   Urbana, Illinois 61802
                                                   Phone: (217) 278-3331
                                                   E-Mail: LVanFleet@atg.state.il.us




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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                               SPRINGFIELD DIVISION

DEANGELO C. BIVENS,                          )
                                             )
               Plaintiff,                    )
                                             )
       -vs-                                  )       No. 19-cv-3088-MMM
                                             )
TODD SHUFFLER, et al.,                       )
                                             )
               Defendants.                   )

                                  CERTIFICATE OF SERVICE

       I hereby certify that on September 5, 2019, I electronically filed the foregoing Defendants’

Answer and Affirmative Defenses, with the Clerk of Court using the CM/ECF system, and I

hereby certify that on that same date, I caused a copy of same to be mailed by United States

Postal Service, in an envelope fully prepaid and properly addressed, to the following

participant:

DeAngelo C Bivens
M34117
HILL CORRECTIONAL CENTER
Inmate Mail/Parcels
PO Box 1700
Galesburg, IL 61401

                                                  Respectfully submitted,


                                                  s/ Lindsay Rose VanFleet
                                                  Lindsay Rose VanFleet
                                                  Assistant Attorney General
                                                  Office of the Illinois Attorney
                                                  General
                                                  1776 East Washington Street
                                                  Urbana, Illinois 61802
                                                  Phone: (217) 278-3331
                                                  E-Mail: LVanFleet@atg.state.il.us


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